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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                SPARTANBURG DIVISION

 JANES DOES 1-9,                                                    CA: 7:20-cv-00947-JD

                                  Plaintiffs,

                     v.                                                   ORDER

 COLLINS MURPHY, LIMESTONE COLLEGE,
 MG FREESITES, LTD., d/b/a PORNHUB.COM
 and   HAMMY     MEDIA       LTD.  d/b/a
 XHAMSTER.COM,

                                  Defendants.

       This matter comes before the Court on Defendants Limestone University’s (incorrectly

identified as “Limestone College” and hereinafter referred to as “Limestone”) Partial Motion to

Dismiss Plaintiffs’ Fourth Amended Complaint (“Complaint”) (DE 102) and Defendant MG

Freesites Ltd., d/b/a Pornhub.com (“Freesites”) Motion to Dismiss Fourth Amended Complaint

(DE 104), pursuant to Federal Rule of Civil Procedure 12(b)(6). Limestone contends that

Plaintiffs’ Complaint fails to allege that Defendant Collins Murphy (“Murphy”) was acting within

the course and scope of his employment when he allegedly committed tortious acts against

Plaintiffs; and therefore, Limestone cannot be held vicariously liable for Murphy’s actions under

Plaintiffs’ first four causes of action (First Cause of Action - Invasion of Privacy – Wrongful

Intrusion upon Private Affairs, Second Cause of Action - Invasion of Privacy – Wrongful

Publicizing of Private Affairs, Third Cause of Action - Invasion of Privacy – Wrongful

Appropriation of Personality (collectively “Invasion of Privacy Torts”), and Fourth Cause of

Action - Intentional Infliction of Emotional Distress).

       Equally, Freesites contends Plaintiffs fail to allege any unlawful conduct or facts to support

their Invasion of Privacy Torts, intentional infliction of emotional distress, or agency and

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conspiracy claims against it. Further, Freesites claims it is immune from liability for all of

Plaintiffs causes of action under Section 230 of the Communications Decency Act (“CDA”); and

therefore, Freesites should be dismissed from this case.1 Plaintiffs submitted Responses in

Opposition to these motions. (DE 114, 115.) Defendants submitted Replies. (DE 118, 119.) After

reviewing the motions, memoranda submitted, and the record, the Court grants Limestone’s Partial

Motion to Dismiss and grants, in part, and denies, in part, Freesites’ Motion to Dismiss for the

reasons stated herein.

                                            BACKGROUND

        As alleged by the Plaintiffs, on October 5, 2012, the Bellarmine University Knights field

hockey team traveled to Gaffney, South Carolina, to face the Limestone women’s field hockey

team. Upon arrival, Limestone agents directed Plaintiffs to a men’s locker room, which was

designated for their use before and after the game. While in the subject locker room, Plaintiffs

showered and changed clothes such that they were in a state of nudity for periods of time. Murphy,

a Limestone employee, secretly placed a video camera in the subject locker room prior to

Plaintiffs’ arrival on campus and video recorded Plaintiffs without their knowledge or consent,

while they were in a state of nudity.




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         Freesites claims immunity under Section 230 of the CDA, which protects “computer service
providers” from liability arising from content made available on their platforms by third party users acting
as “information content providers.” See 47 U.S.C.A. § 230. The protection claimed here is an affirmative
defense, which does not justify dismissal under Rule 12(b)(6). See Doe v. GTE Corp., 347 F.3d 655, 657
(7th Cir. 2003) (finding that § 230 is an affirmative defense and noting that “[a]ffirmative defenses do not
justify dismissal under Rule 12(b)(6) . . . .”); see also, Republican Party v. Martin, 980 F.2d 943, 952 (4th
Cir. 1992) (“A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint; importantly, it
does not resolve contests surrounding the facts, the merits of a claim, or the applicability of defenses.”)
(emphasis added). Since Freesites brings this motion pursuant to Rule 12(b)(6), Fed. R. Civ. P., this Court
will evaluate the motion accordingly and will not convert the motion to a judgment on the pleading to
consider Freesites’ immunity defense at this stage.
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        Plaintiffs allege Murphy had knowledge of sporting events on campus and access to athletic

facilities, with Limestone’s knowledge and consent. During the course of his employment with

Limestone, Murphy secretly recorded multiple women changing clothes and taking showers in

locker rooms between September 2012 and October 2013. At some point thereafter, the recording

of the Plaintiffs was uploaded to various pornographic websites, including Freesites, which

operates the website Pornhub.com. On October 10, 2019, the Gaffney Police Department opened

an investigation into the illegal video recordings which took place on Limestone’s campus, and

the investigation remains ongoing. Plaintiffs filed suit on March 4, 2020, alleging several State

law claims against multiple defendants including Murphy.

                                       LEGAL STANDARD

        A motion to dismiss for failure to state a claim challenges the legal sufficiency of a

complaint. See Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009). “[A] motion to dismiss

for failure to state a claim should not be granted unless it appears certain that the plaintiff can prove

no set of facts which would support its claim and would entitle it to relief.” Mylan Labs., Inc. v.

Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). “In considering a motion to dismiss, the court should

accept as true all well-pleaded allegations and should view the complaint in a light most favorable

to the plaintiff.” Id.   To withstand a Rule 12(b)(6) motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. “The plausibility standard is not akin to a probability requirement, but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Id. (internal quotation marks omitted).



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While a complaint “does not need [to allege] detailed factual allegations,” pleadings that contain

mere “labels and conclusions” or “a formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555. “Where a complaint pleads facts that are merely consistent

with a defendant’s liability, it stops short of the line between possibility and plausibility of

entitlement to relief.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted). Stated differently,

“where the well-pleaded facts do not permit the court to infer more than the mere possibility of

misconduct, the complaint has alleged but it has not ‘show[n]’ ‘that the pleader is entitled to

relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

                                           DISCUSSION

       If the facts as presented in this case are true and accurate, the events described in the

complaint are egregious, immoral, and despicable. However, at the 12(b)(6) stage, the Court is

empowered not to rule on the merits of a claim or to pass judgment on the facts alleged. Rather,

the Court’s function here is to determine the legal sufficiency of a complaint based on the

applicable rules, procedures, and appropriate laws.

       A. Vicarious Liability against Limestone

       Limestone argues that the Complaint is deficient because Plaintiffs fail to allege “that

Murphy acted within the course and scope of his employment when he allegedly videoed the

Plaintiffs surreptitiously in Limestone’s locker room.” (DE 102-1, p. 6.) Limestone contends that

“Plaintiffs must show that Murphy’s tortious actions themselves were ‘reasonably necessary to

accomplish the purpose of his employment and in furtherance of the master’s business’ (sic) to

establish such liability.” (DE 102-1, p. 10.) (quoting Armstrong v. Food Lion, Inc., 371 S.C. 271,

639 S.E.2d 50 (S.C. 2006). Limestone is correct as to South Carolina law and the implausibility

of Murphy videotaping Plaintiffs while they were fully nude, or in various stages of undress as



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being in the course and scope of his employment with Limestone based on Plaintiffs’ allegations.

See Park v. Southeast Serv. Corp., 771 F. Supp. 2d 588 (D.S.C. 2011) (ruling on 12(b)(6) that

“[p]laintiff has not submitted to the court a plausible argument that [employee]'s decision to video

record [p]laintiff using the restroom was an act committed in furtherance of his employment.”)

Under South Carolina law, “the act of a servant done to effect some independent purpose of his

own and not with reference to the service in which he is employed, or while he is acting as his own

master for the time being, is not within the scope of his employment so as to render the master

liable therefor.” Armstrong v. Food Lion, Inc., 639 S.E.2d 50, 53, 371 S.C. 271, 276 (S.C. 2006).

The Complaint’s allegations (which are incorporated and reasserted in each cause of action) allege

inter alia that Limestone hired Murphy as its intramural/summer conference director. (DE 99, ¶

26.) “As intramural/summer conference director, Defendant Murphy, had knowledge of sporting

events on campus and had access to athletic facilities, such as the subject locker room, with

Limestone College’s knowledge and consent.” (DE 99, ¶ 31.)

       Defendant Murphy, in his capacity as an employee and agent of Defendant
       Limestone, was given access to and/or control over the locker room facilities at
       Limestone. Utilizing that access, Defendant Murphy placed a hidden video camera
       in Defendant Limestone’s locker room and captured video and images of the
       Plaintiffs their teammates, and other student athletes from around the nation, all
       while they were fully nude, or in various stages of undress.

(DE 99, ¶¶ 61, 62.) Plaintiffs’ allege “Defendant Murphy was acting within the scope of his

employment when entering, or accessing the women’s locker rooms, and thus Defendant

Limestone was able to control or supervise his conduct.” (DE 99, ¶ 105.) This conclusory

statement is offset by Plaintiffs’ allegation that “[t]he secret and unauthorized videotaping by

Defendant Murphy was motivated by the joint venture partnership between Defendant Murphy

and Defendants Pornhub and xHamster respectively.” (DE 99, ¶ 66.) Furthermore, Plaintiffs

allege that Murphy’s employment with Limestone ended in 2014 and that in 2019 Murphy


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uploaded the recordings to pornographic websites and gained an income from the content he

provided on his accounts on the Pornhub and xHamster websites. (DE 99, ¶ ¶ 33, 34, and 42.)

These allegations taken as true do not allow the Court to draw the reasonable inference that

Murphy’s tortious acts were in furtherance of Limestone’s business to invoke vicariously liability.

       A plaintiff seeking recovery from the master for injuries must establish that the
       relationship existed at the time of the injuries, and also that the servant was then
       about his master’s business and acting within the scope of his employment. Id. An
       act is within the scope of a servant's employment where reasonably necessary to
       accomplish the purpose of his employment and in furtherance of the master's
       business. Id. . . . .
       The act of a servant done to effect some independent purpose of his own and not
       with reference to the service in which he is employed, or while he is acting as his
       own master for the time being, is not within the scope of his employment so as to
       render the master liable therefor.
Armstrong at 52-53. Accordingly, since Plaintiffs Complaint is silent regarding whether the scope

of Murphy’s employment included videotaping or recording of athletes and given the fact that the

Complaint affirmatively alleges Murphy’s videotaping was in furtherance of an independent joint

venture, the Court must find that Plaintiffs have not pled sufficient facts or stated plausible claims

for relief for the Invasion of Privacy Torts and Intentional Infliction of Emotional Distress against

Limestone.

       B. Plaintiffs’ claims against Freesites

       Freesites contends that Plaintiffs fail to allege any unlawful conduct against it under

Plaintiffs’ Invasion of Privacy Torts and Intentional Infliction of Emotional Distress. Plaintiffs’

Complaint does not allege Freesites placed a hidden video camera in Defendant Limestone’s locker

room and captured video and images of the Plaintiffs. Rather, Plaintiffs allege:

       [Freesites] endorses, solicits, coordinates, and participates in the creation of
       sexually lewd content and monetizes its creation . . . [and it] . . . schemed to increase
       their financial positions by enlisting others to create sexually deviant content and
       shared the revenues such content generated with the providers . . . [and] . . . [t]his
       scheme created a joint venture partnership and civil conspiracy between Defendants
       (and the Defendant Murphy) . . . [and] . . . [t]he secret and unauthorized videotaping
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       by Defendant Murphy was motivated by the joint venture partnership between
       Defendant Murphy and Defendants Pornhub and xHamster respectively.

(DE 99, ¶ ¶ 17, 47, 48, and 66.) Plaintiffs’ suggest that these allegations support a plausible claim

to hold Freesites liable for the acts and misdeeds of Murphy because an agency relationship exists

between Freesites and Murphy; therefore, sufficient facts are pled to survive a 12(b)(6) motion.

This Court disagrees. In South Carolina, “[a] principal may be held liable to a third person in a

civil lawsuit for the fraud, deceit, concealment, misrepresentation, negligence, and other omissions

of duty of his agent which occur in the scope of the agent’s employment, even when the principal

did not authorize, participate in, or know of such misconduct or even when the principal forbade

or disapproved of the act in question.” Spence v. Spence, 368 S.C. 106, 126, 628 S.E.2d 869, 879

(S.C. 2006). “The test to determine agency is whether or not the purported principal has the right

to control the conduct of his alleged agent.” Fernander v. Thigpen, 278 S.C. 140, 144, 293 S.E.2d

424, 426 (S.C. 1982). Even when reviewing the Complaint in a light most favorable to Plaintiffs,

this Court cannot to draw a reasonable inference that Freesites had any control over Murphy when

he recorded Plaintiffs. Moreover, even if the financial arrangements between Freesites and

Murphy as alleged by Plaintiffs equaled control (which is implausible), this control occurred

several years after the recordings were made and, therefore, would only insulate Plaintiffs’ Second

Cause of Action – Invasion of Privacy – Wrongful Publicizing of Private Affairs. Accordingly,

Freesites’ Motion to Dismiss Plaintiffs Invasion of Privacy Torts and Intentional Infliction of

Emotional Distress claims (Causes of Action One, Two, Three, and Four) is granted.

       As to Plaintiffs’ Negligent Monitoring, False Light, Civil Conspiracy, and 18 U.S.C. §

1962(c) and 1964(c) claims (Causes of Action Seven, Eight, Nine, and Eleven), the Plaintiffs have




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pled sufficient facts and stated plausible claims for relief against Freesites; therefore, Freesites’

Motion to Dismiss under Rule 12(b)(6) is denied.2

                                              CONCLUSION

        For the foregoing reasons, it is Ordered that Limestone’s Partial Motion to Dismiss (DE

102) is granted, and Freesites’ Motion to Dismiss (DE 104) is granted, in part, and denied, in part,

as provided herein.

        AND IT IS SO ORDERED.

                                                                     _________________________
                                                                     Joseph Dawson, III
                                                                     United States District Judge

June 16, 2021
Greenville, South Carolina




2
        Although Freesites claims that the title to Plaintiffs Eleventh cause of action does not list Freesites,
looking to Plaintiffs Complaint in its entirety to include all of the allegations in the Eleventh cause of action
and applying the 12(b)(6) legal standard, the Court finds that Plaintiffs have alleged sufficient facts to
withstand Freesites motion to dismiss.
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